       18-35310-cgm        Doc
                           DEL 72BELLO
                                  Filed 07/26/18  Entered 07/26/18
                                          DONNELLAN                09:47:48 Main Document
                                                           WEINGARTEN
                                                 Pg 1 of 1
                                    WISE & WIEDERKEHR, LLP
Erica R. Aisner                                                                                       Connecticut Office
                                                 COUNSELLORS AT LAW                                  1111 SUMMER STREET
Partner                                                                                              STAMFORD, CT 06905
(914) 607-3153                               THE GATEWAY BUILDING                                       (203) 298-0000
eaisner@ddw-law.com                       ONE NORTH LEXINGTON AVENUE
                                          WHITE PLAINS, NEW YORK 10601
                                                    (914) 681-0200
                                               FACSIMILE (914) 684-0288




                                                    July 25, 2018

         Via ECF/CM System & First Class Mail

         Honorable Cecelia G. Morris
         Chief U.S. Bankruptcy Judge, SDNY
         355 Main Street
         Poughkeepsie, New York 12601-3315

                        Re:     Paul Teutul, Jr., Chapter 13 Debtor
                                S.D.N.Y. Case No. 18-35310-(cgm)

         Dear Honorable Chief Judge,

                This letter is written to provide the Court and all interested parties with the status of the
         above-referenced Chapter 13 case. The Debtor’s Confirmation Hearing is scheduled on July 31,
         2018 at 1:30 p.m.

                 A Third Amended Chapter 13 Plan was filed on May 17, 2018 and provides that the
         Chapter 13 Plan will be funded with proceeds from the sale of the Debtor’s home, which is
         currently being marketed for sale. Unfortunately, at this time the Debtor has not secured a buyer
         to purchase the property.

                  The undersigned requests that the Confirmation Hearing be adjourned from July 31, 2018
         to October 16, 2018 as the Debtor is not in a position to satisfy the requirements of confirmation
         at this time.

                 The Chapter 13 Trustee consents to an adjournment and has verified that the Debtor is
         current with his plan payments. My office will contact Ms. Fredericks to confirm if this matter
         may be adjourned.

                                                      Respectfully submitted,

                                                       /s/ Erica R. Aisner
         ERA/dap



1527337
70150631-002
